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              Exhibit 1
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 7
 8                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 9                                     SAN JOSE DIVISION
10
     FEDERAL TRADE COMMISSION,                   Case No. 5:17-cv-00220-LHK-NMC
11
                  Plaintiff,                     BRIEF OF NOKIA TECHNOLOGIES OY
12                                               AMICUS CURIAE IN SUPPORT OF
           v.                                    DEFENDANT QUALCOMM
13                                               INCORPORATED’S OPPOSITION TO
     QUALCOMM INCORPORATED, a                    MOTION FOR PARTIAL SUMMARY
14 Delaware corporation,                         JUDGMENT
15              Defendant.                       Date:       October 18, 2018
                                                 Time:       1:30 PM
16                                               Location:   San Jose Courthouse, Courtroom 8
                                                 Judge:      Hon. Lucy H. Koh
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 1              STATEMENT OF IDENTITY AND INTEREST OF AMICUS CURIAE

 2           Amicus curiae is Nokia Technologies Oy.1 Nokia2 is a leading innovator in the

 3 telecommunications industry. Nokia has cumulatively invested approximately $140 billion in
 4 research and development relating to mobile communications over the past two decades, and as a
 5
     result of this commitment, currently owns over 20,000 patent families. Nokia has also played a
 6
     prominent role in developing technologies that are incorporated in the 2G, 3G, and 4G mobile
 7
 8 cellular standards that have been vital to the success of the global mobile telecoms market. Nokia
 9 is a significant owner of cellular standards essential patents (“SEPs”), and has a significant
10 number of licensees to those cellular SEPs. Nokia remains at the forefront of developing cellular
11 technologies, including in emerging 5G standards, and continues to contribute technologies
12
     covered by its patented inventions as well as to renew its industry-leading patent portfolio.
13
             Nokia also has been for many years and continues to be one of the largest manufacturers of
14
     wireless, fixed, and optical telecommunications network equipment, and continues to invest
15
16 heavily in related research and development, including over $5.5 billion in 2017. As part of its
17 ongoing businesses, which employ over 100,000 and operate in around 130 countries, Nokia has
18 also negotiated and secured licenses to cellular SEPs owned by other industry players.
19           Nokia has been involved in numerous patent cases in U.S. district courts, both as a plaintiff
20
     and a defendant, including cases involving SEPs.
21
                                      PRELIMINARY STATEMENT
22
             Nokia’s interest in this case is to advocate for consistent (F)RAND license obligations
23
24 across 3GPP’s and 3GPP2’s various Organizational Partners around the world such as the Alliance
25
     1
           No counsel for any of the parties authored any portion of this brief. No entity other than
26
   amicus curiae Nokia Technologies Oy monetarily contributed to the preparation or submission of
27 this brief.
   2
28 Oy, andReferences     to Nokia in this section include Nokia Technologies Oy and its parent, Nokia
            its affiliates.

                                                      -1-
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 1 for Telecommunications Industry Solutions (“ATIS”) standards, the Telecommunications Industry
 2 Association (“TIA”) standards, and the European Telecommunications Standards Institute
 3 (“ETSI”) standards. Nokia is concerned about arguments being made now that the ATIS and TIA
 4
     IPR Policies have always unambiguously required SEP owners to license their SEPs at the
 5
     component level. Though Nokia primarily declares its patents through ETSI, Nokia has never
 6
     understood any Organizational Partner’s IPR Policy to require licensing of SEPs at the component
 7
 8 level for 3GPP and 3GPP2 standards. The FTC’s argument to the contrary contravenes industry
 9 norms and, if adopted by this Court, could lead to the ATIS and TIA IPR Policies being
10 incompatible with the ETSI IPR Policy. Additionally, for international standards used globally,
11 like the 3GPP and 3GPP2 standards that govern cellular telecommunications, consistency of
12
     (F)RAND license obligations across Organizational Partners is necessary so that SEP owners and
13
     implementers do not potentially face a patchwork of differing obligations and practices across
14
     different jurisdictions.
15
16           With regard to the issues raised in the FTC’s pending Motion for Partial Summary

17 Judgment, Nokia’s understanding has been from the beginning that the various Organizational
18 Partners’ IPR Policies do not require SEP owners to license cellular SEPs at the component level.
19
     Based on experience in the industry, Nokia believes that its understanding in this regard is
20
     consistent with the decisive ETSI IPR Policy as well as long-standing industry practice, and Nokia
21
     has never understood any 3GPP or 3GPP2 Organizational Partner’s IPR Policy to mandate
22
23 licensing of cellular SEPs at the component level.
24           Nokia does not take any ultimate position on the facts of this specific case, which may be

25 unique to Qualcomm, but instead simply provides this amicus to give the Court perspective on the
26 novel and very surprising interpretations of the ATIS and TIA IPR Policies being put forward in
27
     the FTC’s Motion for Partial Summary Judgment, especially if those novel and surprising
28
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 1 interpretations are somehow later applied in a manner creating unintended consequences for other
 2 SEP holders and the industry at large.
 3                                             ARGUMENT
 4      I.      The Industry Has Not Viewed the 3GPP and 3GPP2 IPR Policies to Require
 5              Licensing at the Component Level.

 6                  A. The ETSI IPR Policy Does Not Mandate Licensing at the Component
                       Level.
 7
             Nokia has heavily participated in 3GPP through its European Organizational Partner—
 8
 9 ETSI. Based on the language of the ETSI IPR Policy, and also the expectations of participants
10 and sound economic principles, the prevailing view at ETSI from the creation of its IPR Policy has
11 been that licensing of cellular SEPs would occur at the end user product level, rather than, for
12 example, at the component level. This view has been expressed by Nokia in response to a Civil
13
     Investigative Demand that Nokia received from the FTC prior to the institution of this litigation
14
     and in sworn testimony from a Nokia employee, Dirk Weiler, who is currently and has served for
15
     a number of years as the Chairman of the ETSI Board and ETSI IPR Special Committee (see
16
17 Qualcomm Opp. Ex. 27 at 43:3-45:1). Importantly, Nokia’s view is also consistent with the
18 express language of the ETSI IPR Policy, which states that:
19           To the extent that the IPR(s) disclosed in the attached IPR Information Statement Annex
             are or become, and remain ESSENTIAL in respect of the ETSI Work Item, STANDARD
20           and/or TECHNICAL SPECIFICATION identified in the attached IPR Information
21           Statement Annex, the Declarant and/or its AFFILIATES are (1) prepared to grant
             irrevocable licences under this/these IPR(s) on terms and conditions which are in
22           accordance with Clause 6.1 of the ETSI IPR Policy . . . .

23           Clause 6.1 of the ETSI IPR Policy in turn states that ETSI should seek from an IPR owner
24 that discloses a patent to ETSI:
25
             an irrevocable undertaking in writing that it is prepared to grant irrevocable licences on
26           fair, reasonable and non-discriminatory (“FRAND”) terms and conditions under such IPR
             to at least the following extent:
27
                   MANUFACTURE, including the right to make or have made customized
28
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 1                  components and sub-systems to the licensee's own design for use in
                    MANUFACTURE;
 2                 sell, lease, or otherwise dispose of EQUIPMENT so MANUFACTURED;
                   repair, use, or operate EQUIPMENT; and
 3
                   use METHODS.
 4
             The above undertaking may be made subject to the condition that those who seek licences
 5           agree to reciprocate.
 6           “MANUFACTURE” is defined in the ETSI IPR Policy to mean production of
 7
     EQUIPMENT.
 8
             “EQUIPMENT” is, in turn, defined in the ETSI IPR Policy to mean any system, or device
 9
     fully conforming to a STANDARD.
10
11           Nokia’s understanding of the ETSI IPR Policy is that the commitment to License on

12 FRAND terms is given for the activities identified in Section 6.1 in relation to EQUIPMENT as
13 that term is defined in the ETSI IPR Policy, and that such EQUIPMENT must be a system or
14 device that fully conforms to a Standard. All of the licensing commitments that Nokia has
15
     provided to ETSI have been made with this understanding of the ETSI IPR Policy.
16
             One of the requirements expressly imposed by both 3GPP and 3GPP2 on Organizational
17
     Partners that want to be involved in 3GPP and 3GPP2 standardization is that each Organizational
18
19 Partner must have “an . . . IPR Policy which is compatible with those of the Organizational
20 Partners.” The ATIS IPR Policy states that licenses must be made available “for the purpose of
21 implementing the [relevant ATIS] standard” and the TIA IPR Policy states that licenses must be
22 made available “to the extent necessary for the practice of the TIA publication” (FTC Ex. 2 at 10
23
     (ATIS Operating Procedures); (FTC Ex. 39 at 87 (2002 TIA Eng’g Manual)).3 Since the IPR
24
     policies of ATIS and TIA must be compatible with the ETSI IPR Policy, they should not be
25
26
27   3
            The TIA IPR Policy was amended in 2005, but the changes are not relevant to the
     considerations set forth within this amicus curiae brief (see Dkt. No. 872-3 at 5).
28
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 1 interpreted to impose materially different obligations.4
 2           Nokia is not aware of prior positions being taken over the years that the IPR Policies of
 3 ATIS or TIA are incompatible or materially different than ETSI IPR’s Policy, under which
 4
     licensing at the end user product level (rather than at the component level) has been the
 5
     longstanding expectation and industry norm. The argument being made now that the ATIS and
 6
     TIA IPR policies unambiguously impose an incompatible requirement to license at the component
 7
 8 level is, therefore, novel. This situation is different from the relatively recent changes made to the
 9 IEEE’s IPR Policy, which, as amended, imposed new constraints on how SEP owners in that
10 context would be required to license their SEPs under the RAND commitments made to IEEE,
11 including a requirement to license at the component level. Although IEEE is not a 3GPP or
12
     3GPP2 Organizational Partner, given IEEE’s collaboration and overlapping work with ETSI at
13
     that time, ETSI deliberated about the impact of the changes made to IEEE’s IPR Policy and,
14
     thereafter, expressly concluded that IEEE’s IPR Policy as amended was incompatible with ETSI’s
15
16 IPR Policy (Qualcomm Opp. Ex. 27 at 93:4-94:11, 103:16-105:18). However, no similar express
17 changes have been made to the ATIS or TIA IPR Policies.
18                  B. The Industry Practice Has Been to License at the End User Product Level.
19           In addition to running afoul of the actual text of the relevant IPR policies, any suggestion
20
     that licensing for cellular SEPs must occur at the component level is inconsistent with
21
     longstanding industry practice.5 The consistent course of conduct of the industry, including Nokia
22
23
24   4
             Nokia agrees with the positions set forth in Qualcomm’s Opposition regarding the textual
     interpretation of the ATIS and TIA IPR Policies (see id. 872-3 at 4-5).
25   5
           See, e.g., In re Certain Electronics Devices, Commission Opinion, Inv. No. 337-TA-794, at
26 n. 19 (Int’l Trade Commission July 5, 2013) (“[T]he record supports a conclusion that a common
   industry practice is to use the end user device as a royalty base.”); Unwired Planet Int’l Ltd. v.
27 Huawei Techs. Co., [2017] EWHC 711 (Pat.) (May 4, 2017) (“The royalty base is the sum to which
   the percentage is applied to give the royalty due. It will largely correspond to the price paid for
28
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 1 (as both licensor and licensee), since adoption of the ETSI IPR Policy has been to license at the
 2 end user product level. In Nokia’s view, as expressed to the FTC during its initial investigation,
 3 licensing at the end user product level is the most efficient manner in which to license cellular
 4
     SEPs, and as a result, has been and continues to be common industry practice. It is the level
 5
     chosen by SEP holders and patent pools alike. And the industry has long recognized that licensing
 6
 7
 8 goods and the definition is largely agreed in the draft contract as something called ‘Selling Price’
 9 for ‘End User Devices’ (i.e. handsets) and ‘Infrastructure Revenue’ for infrastructure.”); Ericsson,
     Inc. v. D-Link, Sys., Inc., 773 F.3d 1201, 1227 (Fed. Cir. 2014) (discussing licenses in which
10   royalties were based on the price of the end user product rather than the price of a component);
     Jonathan D. Putnam & Tim A. Williams, The Smallest Salable Patent-Practicing Unit (SSPPU):
11   Theory and Evidence 35 (2016) (concluding, based on publicly available information regarding
     more than two dozen licenses, that in the “vast majority of cases, we can rule out the use of a
12   component or combination of components as the metering device; in no case can we confirm such
13   use.”); David Teece & E.F. Sherry, On the “Smallest Saleable Patent Practicing Unit” Doctrine:
     An Economic and Public Policy Analysis (2016) (“In the cellular communications industry, it is
14   common practice to license at the device level (cellphones and base stations), rather than at either
     the chipset or cellular service provider levels.”); Keith Mallinson, Busting Smartphone Patent
15   Licensing Myths, CENTER FOR THE PROTECTION OF INTELLECTUAL PROPERTY, GEORGE MASON
     UNIVERSITY SCHOOL OF LAW 4 (September 2015) (“Virtually every IP rightholder in the cellular
16   communications industry that publicly reveals information about its licensing requirements,
17   including EU companies (Alcatel-Lucent, Ericsson, Nokia, Siemens), North American companies
     (InterDigital, Motorola, Nortel, Qualcomm), and Chinese companies (Huawei, ZTE), has
18   publicly stated in recent years that its mobile standard-essential patent (SEP) licensing rates
     are based on a percentage of the entire handset price, as illustrated with LTE. Samsung, the largest
19   company in South Korea, justified a licensing offer for its 3G standard-essential patents in recent
     litigation with Apple in the U.S. International Trade Commission on the basis that royalties
20   calculated on the price of the end user product are consistent with industry practice. Licensing on
21   this basis is a long-standing practice and was widely recognized since the introduction of 2G GSM,
     as noted by the International Telecommunications Standards User Group in 1998 and in 2G and
22   3G standards by several other observers including PA Consulting Group (2005), Credit Suisse First
     Boston (2005), and ABI Research (2007). European antitrust authorities and the U.S. courts also
23   endorse this approach. The Chinese courts used this royalty base for determining a royalty rate in
     the Huawei-InterDigital case.”); Erik Stasik, Royalty Rates and Licensing Strategies for Essential
24   Patents on LTE (4G) Telecommunications Standards, LES NOUVELLES 114-119 (September 2010)
25   (finding that every publicly announced 4G licensing rate was expressed as a percentage of the sales
     price of the end user product, including rates announced by Huawei, Ericsson, and Nokia); see also
26   Devlin Hartline, Letter to Antitrust Chief Applauds DOJ’s New Evidence-Based Approach to IP
     Enforcement, CENTER FOR THE PROTECTION OF INTELLECTUAL PROPERTY, GEORGE MASON
27   UNIVERSITY SCHOOL OF LAW (Feb. 13, 2018), available at https://cpip.gmu.edu/2018/02/13/letter-
     to-antitrust-chief-applauds-dojs-new-evidence-based-approach-to-ip-enforcement/.
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 1 should occur at the end user product level. For example, the UMTS IPR Association, with over 40
 2 industry participants, expressed its view on the topic in 2000:
 3          The royalty “collection point” shall be the last manufacturer in the manufacturing “chain.”
 4          This means that chip and subsystem manufacturers shall be indemnified for sales made to
            Licensees of certified Essential Patents who are the last manufacturers in the “chain.”
 5          Licensees shall not include those manufacturers of component products which are
            incorporated into final assembled products for which royalties are paid to their respective
 6          Licensor(s).6
 7          Concluding a single license with one company at the end user product level, allows SEP
 8
     holders like Nokia to avoid the transaction costs and complexities involved in negotiating and
 9
     executing multiple licenses at multiple points in the supply chain. The end user product approach
10
     also speeds up the entire supply chain’s access to the licensed SEPs.7 It also provides visibility to
11
12 what products are licensed and avoids potentially overlapping and duplicative licensing at
13 different levels of the supply chain. Additionally, end user product licensing avoids complications
14 that may arise with respect to patent exhaustion claims. If licenses were now to be required at the
15 component level under the ATIS and TIA IPR Policies, potential or existing licensees of relevant
16
     SEPs under those policies could argue in license negotiations that certain cellular SEP owners
17
     would have to splinter their portfolios and license subsets of their relevant SEP claims to different
18
19 component suppliers at each level in the value chain. And thereafter, that alleged patent
20 exhaustion or implied rights would alleviate any need for a license to other SEP claims at their
21 point in the value chain. Moreover, specific components may be used beyond a given standard
22
23   6
          3G Patent Platform for 3G Mobile Communication Systems – Definition, Function,
24 Structure, Operation, Governance, UMTS IPR ASSOCIATION, Section 8.2.6 (June 15, 2000),
   available at http://www.atis.org/gsc/gsc-5/ipr-03.pdf.
25   7
           In fact, amici curiae ACT | The App Association and Computer & Communications
26 Industry Association (“ACT”) acknowledge that there are important reasons to license at the end
   user product level (Dkt. No. 864 at 4 (“Amici recognize and respect that ‘downstream’ companies
27 may, in some cases, seek to obtain their own SEP license. There can be many reasons for this,
28 such as a preference to negotiate terms directly or to maintain an ability to use multiple suppliers
   regardless of their individual license status.”)).
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 1 and standards development organization (“SDO”) IPR Policy for which the SEP holder made a
 2 FRAND commitment (and would normally limit its license to). Under such circumstances, if the
 3 requirement were to license applicable SEP claims under a given SDO IPR Policy at the
 4
     component level, then additional SEP claims may be argued to be exhausted or impliedly licensed
 5
     at other points in the supply chain such as the end product level.
 6
            Accordingly, Nokia’s long-standing practice in its own FRAND SEP licensing program
 7
 8 has been and continues to be to enter into license agreements with the companies that sell the end
 9 user products, and not with the component vendors. Under this program, the entire product
10 resulting from the supply chain is covered by the SEP license, and the component manufacturers
11 (and other members of the chain) have access to any SEPs they might require through the “have
12
     made” rights granted to the sellers of the end user products without requiring the negotiation and
13
     transaction costs associated with separate, as well as the complexities of potentially overlapping or
14
     duplicative, licenses. This also gives the end user product manufacturer the opportunity to
15
16 negotiate the licenses, along with the freedom to choose its component suppliers—rather than
17 perhaps being tied only to certain suppliers because of an interpretation requiring certain licenses
18 to be granted at the component level. Nokia’s approach is aligned with other industry participants’
19
     practices, and in Nokia’s view, is the most efficient manner of properly fulfilling the licensing
20
     commitments made to international standards development organizations to make SEPs available
21
     on FRAND terms.8
22
23
24
25
26   8
          Amici ACT conceded that companies licensing SEP's have “chosen to focus their licensing
   programs at the OEM level” (Dkt. No. 864 at 9, n. 15). ACT contends that this parol evidence is
27 unnecessary or should be ignored but, to the contrary, this consistent industry practice
28 demonstrated  a course of conduct and is evidence of how industry players have interpreted the
   underlying Organizational Partners’ IPR Policies.
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 1        II.      Licensing Obligations Across 3GPP and 3GPP2 Organizational Partners Should
                   Be Consistent.
 2
                       A. Incompatible Licensing Obligations Would Create a Patchwork of
 3                        Confusing Requirements.
 4              As noted above, 3GPP and 3GPP2 are collaborative partnerships of Organizational Partner
 5
     standards development organizations, including ATIS and TIA, which involve market participants
 6
     across the world. ATIS is the U.S. partner for 3GPP, and TIA is the U.S. partner for 3GPP2. The
 7
     goal of these international partnerships is to develop technical specifications that can be used
 8
 9 around the world in the global economy. These international standards, once established, are then
10 adopted in various countries and regions around the world by the respective Organizational
11 Partners, like ATIS and TIA, and each Organizational Partner adopts an IPR Policy governing
12 (F)RAND licensing commitments which are mandated to be consistent by 3GPP and 3GPP2.9
13
                Divergent interpretations of the ATIS and TIA IPR Policies on one hand, and the ETSI
14
     IPR Policy on the other, would result in conflicting license obligations across various jurisdictions,
15
     and even among SEP owners depending on the member organizations through which they have
16
17 participated in 3GPP and 3GPP2. To be sure, the supply chain for products implementing cellular
18 standards, along with end user sales, reaches across many jurisdictions, and SEP holders are
19 located all over the world. If there are inconsistent interpretations of licensing obligations vis-à-
20
     vis components versus end user products, which vary based upon the governing Organizational
21
     Partner’s IPR Policy and the specific jurisdiction, the end result will, at a minimum, be wide scale
22
     confusion, higher transaction costs, and uncertainty.10 And these kinds of results can produce
23
24
     9
                To the extent consistency is required, the FTC does not appear to view the ATIS and TIA
25 IPR Policies as consistent with the ETSI IPR Policy, as the FTC has not moved on the basis that
26 the ETSI IPR Policy unambiguously requires component-level licensing.
     10
                In its November 2017 guidelines on SEP licensing, the European Commission expressly
27 recognized the potential value and efficiencies in global, portfolio licensing of SEPs, which of
28 course would require consistent obligations across jurisdictions for a given standard (see
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 1 lower participation in standards-related activities, fewer licensing commitments, and slower work
 2 streams for standards development and standards implementation worldwide, especially for new
 3 and complex technologies. Maintaining consistency across interpretations, in contrast,
 4
     incentivizes contributions and continued development of standardized technologies, reduction in
 5
     transaction costs, and fewer potential disputes over claims of patent exhaustion or implied rights,
 6
     as well as prevents confusion for both licensors and licensees (Nokia, of course, being both).
 7
 8      III.      SEP Licensing in the Telecommunications Industry Has Led to Tremendous
                  Success with New Entrants and Huge Benefits for Consumers.
 9
               In its current form, SEP licensing in the wireless telecommunications industry has been
10
     highly successful. There are numerous examples of new implementers having entered the
11
12 marketplace, some of which have even grown to be industry leaders in a relatively short period of
13 time. Bilateral negotiations have led to hundreds of cellular SEP licenses, resulting in widespread
14 implementation of the cellular standards. Such implementation has also conferred great benefits
15 on consumers across the world, who now have greater access to new technologies.
16
               Novel interpretations of certain SDO IPR Policies that would impose specific licensing
17
     models on certain SEP owners in certain jurisdictions, however, would have the real potential to
18
     put in jeopardy the continued success of standards development and related SEP licensing. The
19
20 current industry-wide approach minimizes complexities, while maintaining efficiencies. The
21 complications that would likely arise from inconsistent licensing obligations advocated for in the
22 FTC’s Motion for Partial Summary Judgment could unravel the success of SEP licensing and
23 standards development that have been achieved to date, rather than incentivizing continued
24
     participation in open standards-setting and development, which make innovation more widely
25
26
27 Communication from the Commission to the European Parliament, the Council and the European
28 Economic and Social Committee, Setting out the EU Approach to Standard Essential Patents,
   COM(2017) 712 (Nov. 29, 2017)).
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 1 available to consumers.
 2                                             CONCLUSION
 3          For the reasons set forth above, amicus urges this Court to deny the FTC’s Motion for
 4 Partial Summary Judgment to the extent the Motion seeks to interpret the ATIS and TIA IPR
 5
     polices as requiring licensing of cellular SEPs at the component level, rather than at the end user
 6
     product level. Industry practice has never interpreted the Organizational Partners’ IPR Policies—
 7
 8 including the ATIS and TIA IPR Policies—as mandating licensing at the component level for
 9 3GPP and 3GPP2 standards. Such an interpretation—which would render the ATIS and TIA IPR
10 Policies inconsistent with the ETSI IPR Policy—would create significant complications for
11 licensing standardized technologies and risk the continued success of standards development and
12
     related SEP licensing in its current beneficial form.
13
14
     Respectfully submitted,
15
     Date: October 3, 2018                         /s/ Ryan W. Koppelman
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